Case 1:05-cr-10033-.]DT Document 13 Filed 05/20/05 Page 1 of 2 Page|D 21
|N THE UNlTED STATES D|STR|CT COURT

FOR THE WESTERN D!STRiCT OF TENNESSEE FZLED BY_______.___D.C.

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UN\TED STATES OF AMER|CA, f§O§:-['Eir§'|' §§ D; TROL§O

. . CLE;""\K, U.S. DIST CT.
Pialntlff, W. D. C»F TN JACKSON

v. Ci'. NO. 05-10033-T
|V||CHAEL RAM|REZ,

Defendant.

 

ORDER ON ARRA|GN|V!ENT

 

This cause came to be heard on Nlay 20, 2005. The Assistant United States Attorney
appeared on behalf of the government and the defendant appeared in person and with the
following counse|, who is retained:

NA|V|E'. Dral<e Martin
ADDRESS:

TELEPHONE:

The defendant through counsei, waived formal arraignment and entered a plea of not
guilty.

Al| motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judgel such period is extended.

The defendant, who is not in custody, may stand on his/her present bond.

14 The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody of the

U.S. Marshal.
. 7/).¢»¢

S. THOMAS ANDERSON
United States Nlagistrate Judge

 

Charges: conspiracy to steal and distribute materials and compounds containing controlled
substances and possession with intent to distribute controlled substances

Assistant U.S. Attorney assigned to case: Kitchen

Ru|e 32 was: Waived not waived.

This document entered on the docket sheet in c nce
with Ru|e 55 end/or 32(b) FRCrP on §§ {§§ l 5

: .| l § § F
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
ease 1:05-CR-10033 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

Jerry R. Kitchen

U.S. ATTORNEY
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Jaekson, TN 38301

S. Drake Martin
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202 W. Baltimore Street
Jaekson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

